
84 So.3d 1285 (2012)
ADMINISTRATIVE CONCEPTS CORP. and FWCIGA, Appellants,
v.
Henry SALEM, Appellee.
No. 1D12-0436.
District Court of Appeal of Florida, First District.
April 24, 2012.
Mary L. Wakeman of McConnaughhay, Duffy, Coonrod, Pope &amp; Weaver, P.A., Tallahassee, and F. Louis Stern of McConnaughhay, Duffy, Coonrod, Pope &amp; Weaver, P.A., Sarasota, for Appellants.
Rosemary Eure of Lancaster &amp; Eure, P.A., Sarasota, for Appellee.
PER CURIAM.
Upon review of Appellant's timely response to this Court's February 14, 2012, order to show cause, the Court dismisses this appeal for lack of jurisdiction because the order under review is neither a final order nor an appealable nonfinal order under Florida Rule of Appellate Procedure 9.180(b)(1). The Motion for Remand, filed February 2, 2012, is denied as moot.
DISMISSED.
DAVIS, CLARK, and ROWE, J.J., concur.
